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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                        Case No. 18-21365-Civ-COOKE/TORRES


   ST. LOUIS CONDOMINIUM
   ASSOCIATION, INC.,

         Plaintiff,

   v.

   ROCKHILL INSURANCE COMPANY,

         Defendant.

   _______________________________________/

                      REPORT AND RECOMMENDATION
                 ON PLAINTIFF’S MOTION FOR TAXABLE COSTS

         This matter is before the Court on St. Louis Condominium Association, Inc.’s

   (“Plaintiff”) motion for taxable costs against Rockhill Insurance Company

   (“Defendant”). [D.E. 277]. Defendant responded to Plaintiff’s motion on July 26,

   2019 [D.E. 282] to which Plaintiff replied on August 2, 2019. [D.E. 283]. Therefore,

   Plaintiff’s motion is now ripe for disposition.   After careful consideration of the

   motion, response, reply, relevant authority, and for the reasons discussed below,

   Plaintiff’s motion should be GRANTED in part and DENIED in part.

                                 I.     BACKGROUND

         Plaintiff filed this action on March 5, 2018 in Florida state court and

   Defendant removed it on April 6, 2018 based on diversity jurisdiction. This case is a


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   property insurance coverage dispute pursuant to an insurance policy that Defendant

   issued to Plaintiff. The policy relates to a property located at 800 Claughton Island

   Drive, Miami, Florida 33131 for the period of December 31, 2016 to December 31,

   2017.      The policy provided insurance coverage in the amount of twenty million

   dollars.

           On September 10, 2017, Hurricane Irma made landfall in South Florida and

   caused damage to the property with wind gusts of up 109 mph in Pembroke Pines,

   Florida. Plaintiff reported to Defendant on September 13, 2017 that the property

   suffered damages. Defendant conducted an inspection of the property one week

   later and re-inspected the property on January 31, 2018. Plaintiff then submitted a

   proof of loss form on February 13, 2018 and Defendant sought additional items to

   make a coverage determination on February 20, 2018. Because Defendant failed to

   pay for repairs to the property within the time allotted under the policy agreement

   and Florida law, Plaintiff filed this action for breach of contract.

                        II.   APPLICABLE PRINCIPLES AND LAW

              Under Fed. R. Civ. P. 54(d)(1), a prevailing party is entitled to recover costs

   as a matter of course unless directed otherwise by a court or statute.          A strong

   presumption exists in favor of awarding costs.       Id.   A court may tax as costs those

   expenses enumerated in 28 U.S.C. § 1920.             See Crawford Fitting Co. v. J.T.

   Gibbons, Inc., 482 U.S. 437, 445 (1987) (absent explicit statutory or contractual

   authorization, federal courts are bound by the limitations set out in § 1920). “To


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   defeat the presumption and deny full costs, a district court must have a sound basis

   for doing so.@   Chapman v. AI Transp., 229 F.3d 1012, 1039 (11th Cir. 2000). The

   court should not take into consideration the relative wealth of the parties, as it

   would undermine the presumption that Rule 54(d)(1) creates in favor of the

   prevailing parties.   Id.1

          Upon the filing of a timely motion or bill of costs, which sets forth in detail the

   amounts requested, the opposing party has the burden of showing that the requested

   costs fall outside the scope of this statute or are otherwise unreasonable.     See, e.g.,

   Eugene v. 3Don & Partner Estate Group, LLC, 2009 WL 996016, at *14 (S.D. Fla.

   Apr. 14, 2009) (finding that the burden lies with the challenging party to show that

   depositions were not related to an issue in the case at the time they were taken, and

   thereby show they were not wholly or partially Anecessarily obtained for use in the

   case.@).




   1      The following costs are permitted under 28 U.S.C. § 1920:
          (1) Fees of the clerk and marshal;
          (2) Fees for printed or electronically recorded transcripts necessarily
               obtained for use in the case;
          (3) Fees and disbursements for printing and witnesses;
          (4) Fees for exemplification and the costs of making copies of any materials
               where the copies are necessarily obtained for use in the case;
          (5) Docket fees under section 1923 of this title;
          (6) Compensation of court appointed experts, compensation of interpreters,
          and salaries, fees, expenses, and costs of special interpretation services under
          section 1828 of this title.
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                                      III.   ANALYSIS

         Plaintiff seeks a total cost award of $29,278.57.         These costs include (1)

   $425.04 for filing costs, (2) $1,311 for the service of a summons and a subpoena, (3)

   $15,607.33 for transcripts, and (4) $11,935.20 2 for printing costs.        There is no

   dispute that – after obtaining a jury verdict of approximately $3 million dollars –

   Plaintiff is the prevailing party in this action.   In fact, Defendant’s response is only

   aimed at costs for photocopying and hosting discovery data.         Because there is no

   dispute that Plaintiff is entitled to all other costs totaling $17,470.87, we need only

   consider the costs in dispute.3

         A.     Internal Printing Costs

         The first issue is whether Plaintiff is entitled to $10,597.35 in internal

   printing costs.   Defendant takes issue with these costs because Plaintiff failed to

   explain why each page should be taxed.      Defendant posits, for example, on whether

   the cost of $0.15 per page reflects an actual cost or whether it reflects the amount

   Plaintiff would have charged had it printed each page needed in this case.

   Defendant claims that Plaintiff should, at least, be required to explain its

   methodology and that, absent an appropriate explanation, these costs should be cut

   in their entirety (or reduced to $.07 per sheet).


   2     This total includes $10,642.65 in internal copying costs, $127.50 in vendor
   copying costs, and $1,165.05 in discovery hosting costs.

   3     While the Court will only discuss at length the costs that are in dispute, the
   Court has conducted an independent review under 28 U.S.C. § 1920 and agrees with
   the parties that the other costs are recoverable.
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            Under § 1920(4), photocopying “necessarily obtained for use in the case” is

   compensable.     “However, costs of copies made for the mere convenience of counsel

   are not taxable.”   Diaz v. AIG Mktg., Inc., 2010 WL 2541872, at *4 (S.D. Fla. June 1,

   2010).     In making this determination, “the court should consider whether the

   prevailing party could have reasonably believed that it was necessary to copy the

   papers at issue.” W & O, Inc., 213 F.3d at 623.     Although a prevailing party may

   not recover for general photocopying, Duckworth v. Whisenant, 97 F.3d 1393, 1399

   (11th Cir. 1996), photocopying costs “attributable to discovery, copies of pleadings,

   correspondence, documents tendered to the opposing party, copies of exhibits and

   documents prepared for the Court’s consideration are recoverable.” Dillon v. Axxsys

   Int’l, Inc., 2006 WL 3841809, at *7 (M.D. Fla. Dec. 19, 2006) (citation and quotation

   marks omitted). The burden of establishing entitlement to photocopying expenses

   lies with the prevailing party. See Fulton Fed. Savings & Loan Assoc. of Atlanta v.

   American Ins. Co., 143 F.R.D. 292, 300 (N.D. Ga. 1991) (explaining that the party

   seeking to recover photocopy costs must come “forward with evidence showing the

   nature of the documents copied and how they were used”). However, this does not

   require an accounting for each photocopy because that would make it impossible

   economically to recover those expenses. See Northbrook Excess and Surplus Ins. Co.

   v. Procter & Gamble Co., 924 F.2d 633, 643 (7th Cir. 1991).

            Here, we are unconvinced that Plaintiff is entitled to the full amount of

   copying costs requested because Plaintiff never articulates how each category of


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   documents were used or intended to be used.           See Cullens v. Georgia Dep't of

   Transp., 29 F.3d 1489, 1494 (11th Cir. 1994) (“The court did not err in disallowing

   the photocopying costs.    Plaintiffs did not present required evidence regarding the

   documents copied including their use or intended use.”) (citing Helms v. Wal–Mart

   Stores, Inc., 808 F. Supp. 1568, 1570 (N.D. Ga. 1992)).     Plaintiff merely claims that

   photocopies were necessary and that any detail required is included in the 120 pages

   of documentation submitted in support of the motion to tax costs.

         Plaintiff’s documentation is, in some respects, unhelpful because – while we do

   not require Plaintiff to articulate the specific reasons for each photocopy – Plaintiff

   must do more than direct the Court to 120 pages of invoices and then leave it to the

   Court to determine whether those costs are necessary. “The undersigned will not

   rummage further through the photocopying invoices . . . in an attempt to guess

   whether the copies were necessarily produced.” Perez v. Saks Fifth Ave., Inc., 2011

   WL 13172510, at *10 (S.D. Fla. Feb. 14, 2011). Indeed, Plaintiff does not give much

   detail on either the categories of the documents photocopied, or the necessity of the

   copies. As such, Plaintiff’s failure to meets its burden is a sufficient basis to deny all

   the costs requested. See Perez, 2011 WL 13172510, at *10 (“Defendant’s conclusory

   claim that it was necessary to make copies of the documents is insufficient to permit

   recovery.”) (citations omitted).

         Although recovery could be denied in its entirety, some photocopies are

   obviously recoverable given the length of this litigation, the issues presented, and the


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   substantial amount of work completed.         The only issue is the price per page.

   Defendant suggets that each page – irrespective of whether the page is black and

   white or color – should be taxed at $0.7 per page. Similar to our refusal to rummage

   through Plaintiff’s invoices to determine the precise number of copies that were

   necessary, we decline to piece together the costs per page attributable to black and

   white copies versus color copies. With that being said, rates for black and white

   copies generally range between $0.10 and $0.25 per page. See Procaps v. Patheon

   Inc., 2016 WL 411017, at *6 (S.D. Fla. Feb. 2, 2016) (“Rates between $0.10 and $0.25

   per page are recoverable.”) (citing Fla. Pawnbrokers & Secondhand Dealers Ass’n v.

   City of Fort Lauderdale, 711 F. Supp. 1084, 1086 (S.D. Fla. 1989) ($0.25 per page);

   Exime v. E.W. Ventures, Inc., 2009 WL 1759351, at *2 (S.D. Fla. June 18, 2009) ($0.19

   per page); Ferguson v. Bombadier Servs. Corp., 2007 WL 601921, at *7 (M.D. Fla.

   Feb. 21, 2007) ($0.10 to $0.15 per page)). And rates for color copies range as high as

   $1.25 per page. See Curry v. Montgomery, 2010 WL 883798, at *5-6 (S.D. Fla. Mar.

   9, 2010).

         Because $0.10 per page strikes an equitable balance for the copies requested –

   given the lack of information provided – Plaintiff should recover $7,064.90 in

   photocopying costs (70,649 pages multiplied by $.10 per page). See George v. Fla.

   Dep’t of Corr., 2008 WL 2571348, at *1 (S.D. Fla. May 23, 2008) (noting

   that rates from $.10 to $.14 have been deemed reasonable, but that rates from $.15 to

   $.19 cents per page have been found unnecessarily high without factual support for


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   the increased rate); see also Ferguson v. Bombardier Servs. Corp., 2007 WL 601921,

   at *4 (M.D. Fla. Feb. 21, 2007) (finding that a reasonable rate is between ten to

   fifteen cents per page); James v. Wash Depot Holdings, Inc., 242 F.R.D. 645, 652 (S.D.

   Fla. 2007) (holding reasonable rate of ten cents per page for copying and that

   nineteen to fifteen cents per page as unnecessarily high without factual support for

   increased rate for higher in-house rate). Accordingly, Plaintiff’s motion to tax costs

   should be GRANTED in part and DENIED in part.

         B.     Electronic Discovery Costs

         The final issue is whether Plaintiff is entitled to recover $1,165.05 in

   discovery hosting costs.   Plaintiff claims that these services were provided from an

   outside vendor at a reasonable rate and that they were needed to manage 12.7

   gigabytes of data so that Plaintiff could prepare and produce documents in response

   to Defendant’s discovery requests.     Defendant argues, however, that Plaintiff’s

   request must be denied because it goes beyond the scope of § 1920.

         The leading case on this issue is the Federal Circuit’s decision in CBT Flint

   partners, LLC v. Return Path, Inc., 737 F.3d 1320, 1328 (Fed. Cir. 2013). In CBT

   Flint, the Federal Circuit considered an intellectual property dispute that was

   appealed from the Northern District of Georgia.       The Court relied on Eleventh

   Circuit authority and discussed what is recoverable within the context of electronic

   discovery. Specifically, the Federal Circuit concluded that ancillary costs that are

   incurred leading up to the duplication of an electronic document are not recoverable:


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         [R]ecoverable costs under section 1920(4) are those costs necessary to
         duplicate an electronic document in as faithful and complete a manner
         as required by rule, by court order, by agreement of the parties, or
         otherwise. To the extent that a party is obligated to produce (or
         obligated to accept) electronic documents in a particular format or with
         particular characteristics intact (such as metadata, color, motion, or
         manipulability), the costs to make duplicates in such a format or with
         such characteristics preserved are recoverable as “the costs of making
         copies . . . necessarily obtained for use in the case.” 28 U.S.C. §
         1920(4). But only the costs of creating the produced duplicates are
         included, not a number of preparatory or ancillary costs commonly
         incurred leading up to, in conjunction with, or after duplication.

   CBT Flint Partners, 737 F.3d at 1328 (emphasis added).        The Federal Circuit also

   discussed the different stages of electronic discovery and the types of costs that are

   not recoverable. The Court determined, for example, that costs for “source code

   planning,” “source code discussion,” and “source code briefing” are not recoverable

   because they are merely costs incurred in the preparation for copies – not the copies

   themselves. CBT Flint Partners, 737 F.3d at 1330.

         In light of these principles, Plaintiff’s request for $1,165.05 falls short because

   “while the costs of digitizing paper documents and making duplicates of electronic

   documents are recoverable, many of the other costs associated with e-discovery (such

   as creating and maintaining a dynamic, indexed, and searchable database) are not

   recoverable.” HRCC, Ltd. v. Hard Rock Cafe Int’l (USA), Inc., 2018 WL 1863778, at

   *10 (M.D. Fla. Mar. 26, 2018), Report and Recommendation adopted, 2018 WL

   1863779 (M.D. Fla. Apr. 13, 2018); see also Procaps v. Patheon Inc., 2016 WL 411017,

   at *12-13 (S.D. Fla. Feb. 2, 2016) (concluding that costs incurred in preparing to copy

   and in “acquiring, installing and configuring a data-hosting server are not

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    recoverable.”).   Indeed, the Eleventh Circuit has explicitly stated that section

    1920(4) “allows recovery only for the reasonable costs of actually duplicating

    documents, not for the cost of gathering those documents as a prelude to

    duplication.” Allen v. U.S. Steel Corp., 665 F.2d 689, 697 n.5 (5th Cir. 1982). And

    the United States Supreme Court has recently found that e-discovery expenses are

    not authorized under § 1920. See Rimini St., Inc. v. Oracle USA, Inc., 139 S. Ct. 873,

    878 (Mar. 4, 2019).      Accordingly, Plaintiff’s motion for $1,165.05 in discovery

    hosting costs should be DENIED.

           C.     Interest

           Plaintiff’s final request is for interest to accrue at the legally available rate as

    of the date of the Court’s entry of final judgment. We agree with Plaintiff that

    “[w]hen a district court taxes costs against a losing party, the award of costs bears

    interest from the date of the original judgment.” BankAtlantic v. Blythe Eastman

    Paine Webber, Inc., 12 F.3d 1045, 1052 (11th Cir. 1994). Plaintiff should therefore

    be entitled to interest flowing from June 13, 2019, the date of the final judgment in

    this case.4




    4     The post-judgment interest rate is determined by “the weekly average 1–year
    constant maturity Treasury yield, as published by the Board of Governors of the
    Federal Reserve system, for the calendar week preceding the date of the
    judgment.” 28 U.S.C. § 1961(a).
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                                    IV.    CONCLUSION

          For the foregoing reasons, the Court RECOMMENDS that Plaintiff’s motion

    for costs [D.E. 277] be GRANTED in part and DENIED in part:

          A.     Plaintiff’s motion for $10,597.35 in internal printing costs should be

                 GRANTED in part and DENIED in part. Plaintiff should recover

                 $7,064.90 (70,649 pages multiplied by $.10 per page) in internal

                 printing costs.

          B.     Plaintiff’s motion for $1,165.05 in discovery hosting costs should be

                 DENIED.

          C.     Plaintiff’s motion for $17,470.87 in costs for filing this action, service of

                 process, transcripts, and vendor copying costs should be GRANTED.

          D.     A total cost judgment of $24,535.77 should be entered subject to interest

                 at the legally available rate as of the date of the Court’s entry of final

                 judgment on June 13, 2019.

          Pursuant to Local Magistrate Rule 4(b) and Fed. R. Civ. P. 73, the parties have

    fourteen (14) days from service of this Report and Recommendation within which to

    file written objections, if any, with the District Judge.        Failure to timely file

    objections shall bar the parties from de novo determination by the District Judge of

    any factual or legal issue covered in the Report and shall bar the parties from

    challenging on appeal the District Judge’s Order based on any unobjected-to factual

    or legal conclusions included in the Report. 28 U.S.C. § 636(b)(1); 11th Cir. Rule 3-1;


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    see, e.g., Patton v. Rowell, 2017 WL 443634 (11th Cir. Feb. 2, 2017); Cooley v.

    Commissioner of Social Security, 2016 WL 7321208 (11th Cir. Dec. 16, 2016).

          DONE AND SUBMITTED in Chambers at Miami, Florida this 7th day of

    August, 2019.

                                                /s/ Edwin G. Torres
                                                EDWIN G. TORRES
                                                United States Magistrate Judge




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